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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF LOUISIANA


DR. DOROTHY NAIRNE, JARRETT
LOFTON, REV. CLEE EARNEST LOWE, DR.
ALICE WASHINGTON, STEVEN HARRIS,
ALEXIS CALHOUN, BLACK VOTERS
MATTER CAPACITY BUILDING
INSTITUTE, and THE LOUISIANA STATE
                                                      NO. 3:22-cv-00178- SDD-SDJ
CONFERENCE OF THE NAACP,

                              Plaintiffs,

       v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State of Louisiana

                              Defendant.


               EX PARTE MOTION TO ADMIT COUNSEL PRO HAC VICE

       In accordance with Local Civil Rule 83(b)(8) governing visiting attorneys to the United

States District Court for the Middle District of Louisiana, the undersigned John Adcock, counsel

of record for Plaintiffs, respectfully requests that this Court permit attorney Josephine M. Bahn to

appear and participate pro hac vice as counsel on behalf of Plaintiffs.

       1.      Ms. Bahn is a licensed attorney admitted to practice in the District of Columbia.

She is a member in good standing of the Bar of the District of Columbia.

       2.      Pursuant to Local Civil Rule 83(b)(8), a declaration under oath by Ms. Bahn is

attached here as Exhibit A swearing that no disciplinary proceedings or criminal charges have been

instituted against him. That declaration also contains the oath required by Local Civil Rule

83(b)(8)(D).

       3.      Also pursuant to Local Civil Rule 83(b)(8), a Certificate of Good Standing from

the District of Columbia is attached to Ms. Bahn’s declaration.
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WHEREFORE, John Adcock, a member of the bar of this Court in good standing, pray that this

Court enter an order permitting Josephine M. Bahn to appear pro hac vice for Plaintiffs in the

above-captioned matter.



Dated: June 11, 2023

                                           _/s/ John Adcock__________
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